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EXHIBIT A
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From:           Robin McDonald
To:             Hammock Tess; ibelinfante@robbinsfirm.com; Vincent Russo; Bryan Tyson; Germany, Rvan; Broce Candice;
                Katelyn McCreary
Subject:        media inquiry from the Daily Report
Date:           Thursday, July 25, 2019 3:11:35 PM




Dear Tess, Candice, Katie, et al,

I am seeking your response to a court document filed today in the Curling v. Raffensperger
alleging spoliation of evidence by both the offices of current Secretary of State Brad
Raffensperger and fonner Secretary of State (now GA Governor) Brian Kemp.

The document alleges failure to preserve electronically stored infonnation,despite numerous
requests, notifications, and discussions, including
1) the destruction of two KSU servers used at the KSU Center for Election Services after the
FBI returned the servers to the Secretary of State's office;
2)preserve DRE memory cards used in the relevant elections or make forensic images of same
before reusing them;
3)preserve electronic data in the internal memories of DRE machines before deploying them
to polling places and reusing them.

"Defendants have willfully destroyed critical evidence in this case. The Secretary of STate's
office, while the Secretary of State was seeking the governor's office, retrieved the servers
from the FBI and promptly and brazenly destroyed it, placing it beyond the reach of plaintiffs,
the court, and the people.... What's worse is that it appears that all of this was done under the
supervision of, if not by, government lawyers, who are held to a higher standard than private
lawyers." (pp 18-19)

I would like your comments and responses to the allegations in this document. I am writing a
story now to post online this afternoon. The document was filed today. It is Document 548.
The case number is 1: l 7-cv-02989. Coalition Plaintiffs' Hearing Brief on Evidentiary
Presumption Arising From Spoliation of Evidence.

Thanks for your quick attention to this matter.

R. Robin McDonald/Staff Writer/The Daily Report/Atlanta


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